INSD Change of Attorney Information (Rev. 2/16)
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                                                  UNITED STATES DISTRICT COURT
                                                              Southern District of Indiana


                                                      NOTICE OF CHANGE OF
                                                     ATTORNEY INFORMATION

     TO: THE CLERK OF THE COURT AND ALL OTHER PARTIES

                      I have no pending cases in the District Court for the Southern District of Indiana.

               ✔      I have pending case(s) in the District Court for the Southern District of Indiana.

                                                                          )
                                                                            1:19-CV-00958-TWP-DLP
                                                                          )
                                                                          )
                                  Pending Case No(s).1                    )
                                                                          )
                                                                          )
                                                                          )


     Pursuant to Local Rule 5-3, the undersigned counsel notifies the Clerk=s Office of the following changes:

                                                   Previous Information:                                             Current Information:

                        Name:

                Law Firm,
                 Company,
            and/or Agency:

                                    833 W. Lincoln Highway, Suite 340E                               233 E. 84th Drive, Suite 301
                                    Schererville, IN 46375                                           Merrillville, IN 46410
                     Address:



                      Primary
                       E-mail:

                   Secondary
                   E-mail(s):

                   Telephone
                    Number:

                   Facsimile:



                    12/19/2019
              Date: ________________                                                                Katlyn M. Christman
                                                                                                 s/ ______________________________


     1
         Identify each case in which you have filed a Notice of Appearance and the case is still pending. This Notice must be filed in each pending case.
